Dear Senator Branch:
Thank you for your correspondence of recent date pointing out that Attorney General Opinion 96-377 should reflect that the waterworks district in question is actually located in Livingston Parish rather than Tangipahoa Parish.
By way of this letter, please consider that we have adopted this change in reference to Opinion 96-377.
Very truly yours,
                              RICHARD P. IEYOUB ATTORNEY GENERAL
                              BY: ________________________________ KERRY L. KILPATRICK ASSISTANT ATTORNEY GENERAL
KLK/ams
Date Received: September 12, 1996
Date Released: October 2, 1996
Kerry L. KilpatrickAssistant Attorney General